               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:13-cr-00079-MR-DLH-4


UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
            vs.                              )      ORDER
                                             )
JEFFREY KIRKLAND,                            )
                                             )
                        Defendant.           )
                                             )

       THIS MATTER is before the Court sua sponte.

I.     PROCEDURAL BACKGROUND

       On December 3, 2013, the Defendant was charged in a multi-

defendant Bill of Indictment with one count of conspiracy to possess with

intent to distribute a quantity of methamphetamine, in violation of 21 U.S.C.

§§ 841(a)(1) and 846, and one count of possession with intent to distribute

a quantity of methamphetamine, in violation of 21 U.S.C. § 841(a)(1). [Doc.

3]. At his arraignment on January 15, 2014, the Defendant was released

on conditions. [See Doc. 80]. The Defendant remained on pretrial release

until January 2015, when his case was called for trial. After four days of

testimony, the jury found the Defendant guilty of the conspiracy charge and




     Case 1:13-cr-00079-MR-WCM       Document 240   Filed 01/21/15   Page 1 of 3
acquitted him of the possession charge. [Doc. 236]. The Court ordered the

Defendant to be taken into custody pursuant to 18 U.S.C. § 3143(a)(2).

        On January 20, 2015, Defendant’s counsel filed a motion for acquittal

under Rule 29 of the Federal Rules of Criminal Procedure. [Doc. 239].

II.     DISCUSSION

        A defendant who has been found guilty of an offense for which a

maximum term of imprisonment of ten years or more is prescribed by the

Controlled Substances Act must be detained pending sentencing unless

the Court finds: (1) that there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that counsel for the Government has

recommended that no term of imprisonment be imposed; and (2) that there

is clear and convincing evidence that the person is not likely to flee or pose

a danger to any other person or the community. 18 U.S.C. § 3143(a)(2).

Having reviewed the Defendant’s motion pursuant to Rule 29, the Court

finds that there is a substantial likelihood that the Defendant’s motion for

acquittal will be granted. The Court will therefore refer this matter to the

Magistrate Judge for a hearing to determine whether the Defendant is likely

to flee or pose a danger to any other person or the community. See 18

U.S.C. § 3143(a)(2).




      Case 1:13-cr-00079-MR-WCM   Document 240   Filed 01/21/15   Page 2 of 3
     IT IS, THEREFORE, ORDERED that this matter is referred to the

Honorable Dennis L. Howell, United States Magistrate Judge, for a release

hearing pursuant to 18 U.S.C. § 3143(a)(2).

     IT IS SO ORDERED.
                               Signed: January 21, 2015




   Case 1:13-cr-00079-MR-WCM   Document 240          Filed 01/21/15   Page 3 of 3
